    Case 9:25-cv-80890-WM Document 6 Entered on FLSD Docket 07/15/2025 Page 1 of 14

AO 440 (Rev . 06/ 12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the



               David Morris Clayman, Plaintiff                    )
                                                                  )
                                                                  )
                                                                  )
                             Plaintiff(s)                         )
                                                                  )
                                  V.                                       Civil Action No.
                                                                  )
Scott Bessant as Secretary of Treasury, United States,            )
  Congress, Jerome Powell as Chair of the Federal                 )
Reserve, and Gene Dodaro as Comptroller General in
                                                                  )
               their official capacities
                                                                  )
                            Defendant(s)                          )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant ·s name and address) US House of Representatives
                                    % Office of the General Counsel of the House of Representatives
                                        219 Cannon House Office Building
                                        Washington, DC 20515




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifrs attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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,.. ,.. '   -
   AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

       Civil Action No.

                                                              PROOF OF SERVICE
                              (This section should not be.filed with the court unless required by Fed. R. Civ. P. 4 (1))

                   This summons for (name of individual and title, if any)
      was received by me on (date)


                  0 I personally served the summons on the individual at (place)
                                                                                      on (date)                           ; or

                  0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                       , a person of suitable age and discretion who resides there,
                  ------------------
                  on (date)                            ' and mailed a copy to the individual ' s last known address; or
                               --------
                  0 I served the summons on (name of individual)                                                                     , who is
                   designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                           ; or
                  ------------------------
                  0 I returned the summons unexecuted because                                                                           ; or

                  0 Other (specify):




                  My fees are$                         for travel and $                   for services, for a total of$          0


                  I declare under penalty of perjury that this information is true.


     Date:
                                                                                                  Server 's signature



                                                                                              Printed name and title




                                                                                                  Server 's address

    Additional information regarding attempted service, etc:
    Case 9:25-cv-80890-WM Document 6 Entered on FLSD Docket 07/15/2025 Page 3 of 14

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                 for the



               David Morris Clayman , Plaintiff                     )
                                                                    )
                                                                    )
                                                                    )
                             Plaintiff(s)                           )
                                                                    )
                                 V.                                        Civil Action No.
                                                                    )
Scott Bessant as Secretary of Treasury, United States,              )
  Congress, Jerome Powell as Chair of the Federal                   )
Reserve, and Gene Dodaro as Comptroller General in
                                                                    )
               their official capacities
                                                                    )
                           Defendant(s)                             )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) The US Senate
                                    % Office of Senate Legal Counsel
                                        642 Hart Senate Office Building
                                        Washington, DC 20510




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
          - - - - -- - - - - - - - - - - --
           on (date)                                , and mailed a copy to the individual ' s last known address; or
                        --------
           0 I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

           0 I returned the summons unexecuted because                                                                                ; or

           0 Other (specify):




           My fees are$                             for travel and $                   for services, for a total of$          0


           I declare under penalty of perjury that th is information is true.



Date:
                                                                                              Server 's signature



                                                                                          Printed name and title




                                                                                              Server 's address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the



               David Morris Clayman, Plaintiff                     )
                                                                   )
                                                                   )
                                                                   )
                             Plaintijf(s)                          )
                                                                   )
                                 V.                                       Civil Action No.
                                                                   )
Scott Bessant as Secretary of Treasury, United States,             )
  Congress, Jerome Powell as Chair of the Federal                  )
Reserve, and Gene Dodaro as Comptroller General in
                                                                   )
               their official capacities
                                                                   )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) Secretary Scott Bessant
                                        % Office of the General Counsel
                                        US Department of Treasury
                                        1500 Pennsylvania Avenue, NW
                                        Washington, DC 20220



          A lawsuit has been filed against you.

         Within 2 I days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule I 2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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AO 440 (Rev . 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                   on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                    , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                                 , and mailed a copy to the individual 's last known address; or

           0 I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                           ; or

           0 I returned the summons unexecuted because                                                                                ; or

           0 Other (specify):




           My fees are$                              for travel and $                  for services, for a total of$          0


           I declare under penalty of perjury that this information is true.


Date:
                                                                                               Server's signature


                                                                                           Printed name and title




                                                                                               Server 's address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                           for the




               David Morris Clayman, Plaintiff               )
                                                             )
                                                             )
                                                             )
                            Plaintiff(s)                     )
                                                             )
                                 V.                                  Civil Action No.
                                                             )
Scott Bessant as Secretary of Treasury, United States,       )
  Congress, Jerome Powell as Chair of the Federal            )
Reserve, and Gene Dodaro as Comptroller General in           )
               their official capacities
                                                             )
                           Defendant(s)                      )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) US Department of Justice
                                    % Attorney General Pam Bondi
                                    950 Pennsylvania Avenue , NW
                                    Washington, DC 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                   on (date)                             ; or

           0 I left the summons at the individual 's residence or usual place of abode with (name)
                                                                    , a person of suitable age and discretion who resides there,
          - - - - - - - --              - - --        - - --    -
           on (date)                                ' and mailed a copy to the individual ' s last known address; or
                        -   - - --      ---

           0 I served the summons on (name of individual)                                                                           , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                             ; or

           0 I returned the summons unexecuted because                                                                                  ; or
                                                                        - - --    - - --       - - - --         - - --   -----

           0 Other (specify):




           My fees are$                             for travel and $                   for services, for a total of$            0


           I declare under penalty of perjury that this information is true.



Date:
                                                                                               Server 's signature



                                                                                           Printed name and title




                                                                                               Server's address

Additional information regarding attempted service, etc:
       Case 9:25-cv-80890-WM Document 6 Entered on FLSD Docket 07/15/2025 Page 9 of 14

+, Av 440(Rev. 06/ 12) Summons in a Civil Action



                                         UNITED STATES DISTRICT COURT
                                                                     for the



                 David Morris Clayman, Plaintiff                       )
                                                                       )
                                                                       )
                                                                       )
                               Plaintiff(s)                            )
                                                                       )
                                   V.                                          Civil Action No.
                                                                       )
  Scott Bessant as Secretary of Treasury, United States,               )
    Congress, Jerome Powell as Chair of the Federal                    )
  Reserve, and Gene Dodaro as Comptroller General in
                                                                       )
                 their official capacities
                                                                       )
                             Def endant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

  To: (Def endant 's name and address) US Attorney for the Southern District of Florida
                                       % Darcie Thompson, Assistant US Attorney (presumably)
                                          500 E Broward Boulevard
                                          Ft. Lauderdale, FL 33394




            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  whose name and address are:




          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


  Date:
                                                                                            Signature of Clerk or Deputy Clerk
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~'\0 440 (ftev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

            This summons for (name of individual and title, if any)
 was received by me on (date)


            0 I personally served the summons on the individual at (place)
                                                                                    on (date)                           ; or

            0 I left the summons at the individual 's residence or usual place of abode with (name)
                                                                     , a person of suitable age and discretion who resides there,
          - - - - -- - - --                  -   -------
            on (date)                                 ' and mailed a copy to the individual 's last known address; or
                         - - - - - --            -

            0 I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                    on (date)                           ; or

            0 I returned the summons unexecuted because                                                                                ; or

           0 Other (specify):




            My fees are$                              for travel and $                  for services, for a total of$
                                                                         -   -   ----                                          0


            I declare under penalty of perjury that this information is true.


 Date:
                                                                                                Server 's signature



                                                                                            Printed name and title




                                                                                                Server 's address

Additional information regarding attempted service, etc:
    Case 9:25-cv-80890-WM Document 6 Entered on FLSD Docket 07/15/2025 Page 11 of 14

A<f 440 (Rev. 06/ 12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                            for the



               David Morris Clayman , Plaintiff               )
                                                              )
                                                              )
                                                              )
                             Plaintiff(s)                     )
                                                              )
                                  V.                                  Civil Action No.
                                                              )
Scott Bessant as Secretary of Treasury, United States,        )
  Congress, Jerome Powell as Chair of the Federal             )
Reserve, and Gene Dodaro as Comptroller General in
                                                              )
               their official capacities
                                                              )
                            Defendant(s)                      )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) Chairman Jerome Powell
                                    Board of Governors of the Federal Reserve System
                                    % General Counsel
                                    20th Street and Constitution Avenue, NW
                                    Washington, DC 20551




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




        If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
      Case 9:25-cv-80890-WM Document 6 Entered on FLSD Docket 07/15/2025 Page 12 of 14
  .   '    .,
AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                            ; or
          - --      - - -- - - - -- - - - - -- -- - - - -

           0 I left the summons at the individual ' s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          - -- - - - - - - - - - - - - - - -
           on (date)                                ' and mailed a copy to the individual ' s last known address; or

           0 I served the summons on (name of individual)                                                                         , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

           0 I returned the summons unexecuted because                                                                                ; or

           0 Other (specify):




           My fees are$                             for travel and $                   for services, for a total of$          0


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                              Server's signature



                                                                                          Printed name and title




                                                                                              Server's address

 Additional information regarding attempted service, etc:
   Case 9:25-cv-80890-WM Document 6 Entered on FLSD Docket 07/15/2025 Page 13 of 14

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                           for the



              David Morris Clayman, Plaintiff                )
                                                             )
                                                             )
                                                             )
                            Plaintiff(s)                     )
                                                             )
                                 V.                                  Civil Action No.
                                                             )
Scott Bessant as Secretary of Treasury, United States,       )
  Congress, Jerome Powell as Chair of the Federal            )
Reserve, and Gene Dodaro as Comptroller General in
                                                             )
               their official capacities
                                                             )
                           Defendant(s)                      )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant ·s name and address) Comptroller General Gene Louis Dodaro
                                    % Office of the General Counsel
                                    US Government Accountability Office (GAO)
                                    441 G Street NW
                                    Washington , DC 20548




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:




        lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COURT


Date:
                                                                                  Signature of Clerk or Deputy Clerk
     Case 9:25-cv-80890-WM Document 6 Entered on FLSD Docket 07/15/2025 Page 14 of 14

AO 440 (Rev. 06/ 12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          - - - - - - -- --                - -- - - - - -
           on (date)                                ' and mailed a copy to the individual 's last known address; or

           0 I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

           0 I returned the summons unexecuted because                                                                               ; or

           0 Other (specify) :



           My fees are$                             for travel and $                  for services, for a total of$          0


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                              Server 's signature



                                                                                          Printed name and title




                                                                                              Server 's address

 Additional information regarding attempted service, etc:
